             Case 1:18-bk-11919-MB                      Doc 37 Filed 08/17/18 Entered 08/17/18 00:04:34                                               Desc
                                                         Main Document     Page 1 of 3

 Attomey or Party Name. Address, Telephonfe & FAX                                 F O R C O U RT U S E O N LY
 Nos., State Bar No. & Email Address
  RANDOLPJ ROGER RAMIREZ PC
  Randolph R. Ramirez, Esq. [SBN297928]
  1613 Chelsea Road N0I86
 San Marino, CA91108
 Te l : 6 2 6 . 7 6 5 . 5 4 1 1
 Fax: 626.784.0480
 lawrrr@me.com




 n Debtor(s) appearing without an attomey
 0 Attomey for Debtor(s)
                                                        U N I T E D S TAT E S B A N K R U P T C Y C O U R T
                                  C E N T R A L D I S T R I C T O F C A U F O R N I A - S A N F E R N A N D O VA L L E Y D I V I S I O N

 In re:                                                                           C A S E N O . : 1 : 1 8 - b k - 11 9 1 9 - M B
 JUAN RENE MEJIA
                                                                                  CHAPTER: 7


                                                                                                DECLARATION BY DEBTOR(S)
                                                                                    AS TO WHETHER INCOME WAS RECEIVED
                                                                                     F R O M A N E M P L O Y E R W I T H I N 6 0 D AY S O F
                                                                                                 T H E P E T I T I O N D AT E

                                                                                                    [11 U.S.C. § 521 (a)(1)(B)(lv)]

                                                                                                              [No hearing required]
                                                                  Debtor(s).

Debtor(s) provides the following declaration(s) as to whether income was received from an employer within 60 days of the
Debtor{s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521 (a)(1 )(B)(iv):
Declaration Qfpebtprl

1. ^ I am Debtor 1 in this case, and I declare under penalty of perjury that the following information is true and correct;

            During the 60-day period before the Petition Date (Check only ONE box below):

            Ix I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
                  employment income I received from my employer during this 60-day period. (If the Debtor's social security
                  number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
                  number(s) before filing this declaration.)

            [~ I was not paid by an employer because I was either self-employed only, or not employed.



Date: 08/14/2018 JUAN RENE MEJIA                                                                   /s/ Juan Rene Meji
                                              Printed name of Debtor 1                                              Signature

           This fofm is mandaUxy. It has t)een approved for use in the United States Bankruptcy Court for the Centrtfl District of CaOfomia.

December 2015                                                                                                                  F 1 0 0 2 - 1 . E M P. I N C O M E . D E C
                      Case 1:18-bk-11919-MB                                                           Doc 37 Filed 08/17/18 Entered 08/17/18 00:04:34                                                                                                                         Desc
                                                                                                       Main Document     Page 2 of 3
                                                                                                                                                                                     -                                                   .




]
I                                                                                        ■' Ji'iC TAuU!."' ;I0-! |                                                                              ' y "f": y'-i'OA i YrvMil-i \u.i . n yA '
                                                                                                                                                                    i                                                             iteitA!                       A         IH';                 ?:      ■/
                                                                                                                                                                                                                                                                                                              1


i                                                                                                                                                                                                                             •,..)             .ri'          I'.l/f              1,          ^.1.-           J

                                                                                                                                                                                                                                        i             fA-                     H                .A             !
t
1                                                                                                                                                                   !                                                                            o . ' • y i - L . ■' ' t c l ' i i ' ; " '
j
                                                                                                                                                                    t
                                                                                                                                                                                                                                                  :-V:: t- '•? .ckuuM c.nc .
                                                                                                                                                                    1                                                                                             r ' - Y ' ' ' ' : \ r Yi - i 1
                                                                                                                                                                    1



                                                                                                                                                                                                                                                              i;niin,;..«-A.ss:=--.vs"-; 1
                                                                                                                                                                                                                                                                                              : 1'1 iV.'i'i) j
                                                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                    !

                                                                                                                                                                                                                                                                                                              1


                                                                                                                                                                    i
                                                                                                                                                                    1


                                                                                                                                                                    1


                                                                                                                                                                        i
                                                                                                                                                                    1                                                                        ; , }V I'li.O V.V'V '1' y .■ ■
                                                                                                                                         _                 1                     _

                                                                                                                              Y ^ T A L A A d i i A a A . 1 i .■■■.Tl' Ct -1 i
                                                                                      AV O G K ^ i t A ' - v - : ' 1 A 2 - A i l i A O - ; . i A G                                                     iciiHTiii'J        JAAriAA:'
J                    woiSi"/;n                                         vr:j
                                                                                                                                                                        1
i                                                                       f::,         •.r         •       -<1          A         0:           r-A-              £                                                                                                                                  .; f ! 1
»


                                                                                                                                                                                                                                                         Arl.iiA 3i13>.
    (                                                                                                                     \          r,;:!!                        1
1                                                                                                                                                 _        _        1
                                                                                                                                                                                                                                                                                                              1

                                                                                     }t              1               At             OilCi                          1
    ;' rnviH:'r;3
         iB)3or3   3n
                  3AV\;                                               v3
                                                                                             n3'-! r3HV\/viT I                                                                                                                                                                                                    •




    i -;0 dYA-.C* 03 v-'ilf"! I iVV A; . A A j q i v ! 3 ( ' i A i l i O v i Y
                                                                                 ■" 3 3
                                                                                                                                                                                                                                                                                                                  1




                                              3T/mO I.VjiY'                                                           3:-;T                                        1
                                                            i       I ' A i fi               A'.3 1.1 1 ii                                                                                                                                                                                                        t




                                                                                     ■                     -                   ^                  j                         r.
                                                                                                                                                                                                 i                                                                                                            1


        £.i!.' I'O Or t'liritiv--                                                      ri'ir-ii                       1                 y!iii                       >                                   1 ?'u;ni:. 11-. iH'i L.iiiv.-'ili' ; :yij setjiv II.L iono.'.i .'LI

                                                                      •(7i)AA<■ GiK)! "-'.' ^ ,r>.3.U 1 ' yO                                                                             r c i n o i i i J a N i y u j c i u u l u fi c l : ' i i i j i J i u i H ( s n o i d u i j

                                                                                                                                                                                                                                                      1 lOcisU :c' iio:Jt>ir.i. jO


                       Diis aui) -'i noilnci uol ii:                             fltVollO' LMi) It.'lil vnijit*', It";                                                               1 .ihi'.tj tiA.i.t.i!-} 1 inj!": .s'fSBr/ siii; III ' ■ijJduCJ ins i ixl f

                                                                                     . • o A n ' • . '■. r. i Y i W ' k - s ^ ( \ - : } ) ' J i s G                                      noiJira^ Oft; o'io"(f-t1 bohaq \;i;h-09 rtrit gnl'iiC

             lO il: 1' 'j ;■ 11 |!'J lij . ■• f .L !•" ' ^ ,                           H"~'' :♦ i'.' A.I Uji i. A , ; 'i';i ''r 3,'                                                       ■ 111 - i . J A ' j - n v " i t q f f i y a -■•■i ; . V 1 > C
                             SA'.-C,.                                                    .11 l ifA I Vi>v •■'■ '-ifl. U.K ' ^ ''7                                                         , • 1.1 I'l(.•■.! (>3Vi*v)'^ I Ofnr- .••;» '(iv/iiv;
                 ;)i\l Iv-iitLLjA iuo 'i'v r:! \ .III                                ;MA'                      '.1              'A\\;                 '■                    'i''         ..'         L-t'.'      if      'b        .              i            • i v l U V. j i

                                                                                                                                                                                               U bi./A-ii.i:. .1 ; : i'"n -.v-'f-A


                                                                                 1       ,   '       ir.       ,.     J       . ' . fl - "    V       ''"''r                c            ' i . i 1 1 3 y d r i l . - ' l l I t - l f l £ ! • ■, ' •■ i




                             .           -          _           .        -dIF                          n y. j l , ' - i f                                                                                     AUAiM 2M.--G i-ini.JL dAAi^fA'ii ,1^.;".;
        --       '      '          -           ^           i}'o                  ■I ' i B                                           1-                                             Vv c i s C J b f n f . - ! h s / n n ^


                                             - J                                                                                                                                                       -=»       -r..     ^            -.f-a.             —              ..


                                 i i l i r o i . t r. l l o ' . i r n i ' i      ■       •   • - •■I l          in!       ni-Xi          t-!;;)';                  byir         U ii'li I'l H?!' ' Iivvr'it'.tl. 'l":H -'l.'i 1' . ..lU.r-ii". fi .''1 'MO'i fli.lT


                                                                                                                                                                                                                                                                                                        KIC       '
        02G.3M00M}.«i:.e. i--sa'j» -i                                                                                                                          f
         Case 1:18-bk-11919-MB                    Doc 37 Filed 08/17/18 Entered 08/17/18 00:04:34                                      Desc
                                                   Main Document     Page 3 of 3

Declaration of Debtor 2 (Joint Debtort (if applicable


2. □ I am Debtor 2 in this case, and I declare under penalty of perjury that the following information is true and correct:

         During the 60-day period before the Petition Date (Check only ONE box belowY
          r I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
              employment income I received from my employer during this 60 day period. {If the Debtor's social security
              number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
              number(s) before filing this declaration.)

          r~ I was not paid by an empioyer because I was either self-employed only, or not employed.




Date:
                                        Printed name of Debtor 2 Signature of Debtor 2




        This (bm is mandatoiy. It has been approved for use in the United States Bankniptcy Court for the Central District of California.

                                                                      Page                2            F 1 0 0 2 - 1 . E M P. i N C O M E . D E C
